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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
EDGARDO DIAZ,                                                  :

                                                             :     ORDER
                          Plaintiff,
                                                             :     18 Civ. 4910 (ALC) (GWG)
        -v.-

                                                             :
NEW YORK PAVING INC.,
                                                             :

                           Defendant.                          :
---------------------------------------------------------------X

GABRIEL W. GORENSTEIN, United States Magistrate Judge

        Oral argument on the pending motions to compel (Docket ## 121, 123) will take place on
October 21, 2020, at 4:00 p.m. At that time, the parties shall dial (888) 557-8511 and use access
code: 6642374. (The public may also dial in but will be permitted only to listen.) The Court
will record the proceeding for purposes of transcription in the event a transcript is ordered.
However, any other recording or dissemination of the proceeding in any form is forbidden.

        When addressing the Court, counsel must not use a speakerphone.

        Each attorney or unrepresented party is directed to ensure that all other attorneys or
unrepresented parties on the case are aware of the oral argument date and time. In addition, any
requests for an adjournment must be made in compliance with Judge Gorenstein’s rules
(available at:http://nysd.uscourts.gov/judge/Gorenstein).

        SO ORDERED.

Dated: October 15, 2020
       New York, New York

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                                                             GABRIEL W. GORENSTEIN
                                                             United States Magistrate Judge
